         Case 1:09-cr-00779-JFB Document 17 Filed 11/20/09 Page 1 of 1 PageID #: 13



                   UNITED STATES DISTRICT COURT
                                                                                   FILED
                       EASTERN                 DISTRICT OF




 UNITED STATES OF AMERICA
                                                                            LONG ISLAND OFFICE
              v.                                             WAIVER OF INDICTMENT

 HASAAN DAHER ELREDA,

                     DEFENDANT.



      I,HASAAN DAHER ELREDA, the above-named defendant, who am accused of

       possession of forged money orders, in violation of Title 18, United States Code, Section
513(a),

       being advised of the nature of the charge, the proposed information, and of my rights,
hereby waive in open court, on November 20,2009, prosecution by indictment and consent
that the proceeding may be by information rather than by indictment.




                                                             Peter Verby, ES<.
                                                             Counsel for Hasaan Daher Elreda


Before                 "           d
                  d b l e Joseph F. Bianco
         ~ d t e States
                 d      District Court Judge
